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Marc J. Randazza (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
2764 Lake Sahara Drive, Suite 109
Las Vegas, Nevada 89117
Tel: (702) 420-2001
ecf@randazza.com

Jay M. Wolman (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
100 Pearl Street, 14th Floor
Hartford, Connecticut 06103
Tel: (702) 420-2001
ecf@randazza.com

Mathew M. Stevenson, St. Bar # 6876
STEVENSON LAW OFFICE
1120 Kensington, Suite B
Missoula, MT 59801
Tel: (406) 721-7000
matstevenson@bigskylegal.com

Attorneys for Defendant,
Andrew Anglin

                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MONTANA
                         MISSOULA DIVISION

                                      )
TANYA GERSH,                          )    Case No. 9:17-cv-50-DLC-JCL
                                      )
             Plaintiff,               )
                                      )      BRIEF IN SUPPORT OF
       vs.                            )   DEFENDANT’S MOTION TO
                                      )   COMPEL MONTANA HUMAN
ANDREW ANGLIN,                        )     RIGHTS NETWORK TO
                                      )    COMPLY WITH SUBPOENA
             Defendant.               )
                                      )
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               MEMORANDUM AND POINTS OF AUTHORITIES
1.0      INTRODUCTION
         Pursuant to Federal Rules of Civil Procedure 26 and 45, and Local Rule (LR)
26.3(c), Defendant Andrew Anglin respectfully moves the Court to compel non-
party Montana Human Rights Network (“MHRN”) immediately to comply with Mr.
Anglin’s subpoena to MHRN dated January 24, 2019 (the “Subpoena”), specifically
by providing complete responses and produce documents responsive to the
document requests in the Subpoena. Mr. Anglin also moves the Court to find MHRN
in contempt under Rule 45(g) and impose an appropriate sanction, including an
award of costs and fees incurred in making this motion.
         MHRN possesses documents that are highly relevant to Mr. Anglin’s claims
and defenses in this case. Central issues here are the extent to which Plaintiff Tanya
Gersh voluntarily sought out media attention in her dispute with Sherry Spencer and
the accuracy of the claims in the December 15, 2016 Medium.com article published
under Mrs. Spencer’s name. Given MHRN’s close relationship with Ms. Gersh, it
is in possession of documents related directly to these issues. MHRN has not
asserted valid grounds for objecting to Mr. Anglin’s Subpoena and there is no basis
for its complete refusal to provide any responsive documents whatsoever.
2.0      FACTUAL BACKGROUND
         The parties have already laid out the factual and procedural history of this case
at length. (See, generally, Doc. No 32 at 10-21.) Significant to this motion are the
following facts:
         MHRN operates Love Lives Here (“LLH”), a local affiliate of MHRN. (See
MHRN home page, attached as Exhibit 1,1 at p. 5 of 7.) Prior to the publication of
the Daily Stormer articles at issue in this case, LLH organized a protest of 22 Lupfer


1   Available at: https://mhrn.org/ (last accessed Feb. 20, 2019).
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Avenue, the real estate property owned by Sherry Spencer. (See PL003215, email
from Sherry Spencer dated December 5, 2016, attached as Exhibit 2.) Plaintiff
Tanya Gersh was aware of this planned protest and contacted tenants at 22 Lupfer
Avenue about the protest. (See Dkt. No. 1 at ¶¶ 58-59.) This is what started the
cascade of events which led to Daily Stormer articles.
      It is important to note that Ms. Gersh’s timeline in her Complaint makes
significant omissions relevant to the issue of public figure status. In November
2016, Ms. Gersh was discussing the details of the dispute with Mrs. Spencer with
members of MHRN, including the contents of a draft statement to be attributed to
Mrs. Spencer and a press advisory on the dispute. (See PL003368-69, November
22, 2019 email from Rachel Carroll Rivas to Kim Abbott, attached as Exhibit 3; see
also November 22, 2016 email from Rachel Carroll Rivas to Will Randall, attached
as Exhibit 4.) Rachel Rivas, the Co-Director of MHRN, then communicated with
Mrs. Spencer about such a statement and the proposal of Ms. Spencer donating
money to LLH. (See PL002967, December 8, 2016 email from Ms. Rivas, attached
as Exhibit 5.)
      Ms. Gersh was in contact with media outlets prior to the publication of the
Medium.com article. (See “We Investigate: Whitefish, family torn apart by white
nationalist’s notoriety,” ABC FOX MONTANA (Dec. 13, 2016), attached as Exhibit
6)2 (reporting that Ms. Gersh sent an email to ABC FOX Montana prior to
publication in which she said ‘“She (Sherry) is profiting off of the people of the local
community, all the while having facilitated Richard’s work spreading hate by letting




2
  Available at: https://www.abcfoxmontana.com/news/we-investigate-whitefish-
family-torn-apart-by-white-nationalist-s/article_3407aa88-eb5c-55ab-9557-
e763b78873c9.html (last accessed Feb. 20, 2019).

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him live and use her home address for his organization.’”)3 Ms. Gersh was also
quoted as stating Mrs. Spencer “[c]ould address this by selling the building, making
a donation to human rights efforts,4 and making a statement in opposition to white
supremacist ideas spread by Richard.” (Id.) Ina Albert, a co-founder of LLH,
communicated with Ms. Gersh following the ABC FOX Montana article
acknowledging that Ms. Albert had sent an email on the dispute with Ms. Spencer
to the media. (See PL003996, December 13, 2016 emails between Ina Albert and
Tanya Gersh, attached as Exhibit 7.) Ms. Gersh’s conflict with Mrs. Spencer was
thus an issue of media attention, in which Ms. Gersh voluntarily participated, at least
several days before Mr. Anglin wrote anything about Ms. Gersh.
      Email communications from late December also show that MHRN was
coordinating the media responses of itself, LLH, and Ms. Gersh concerning her
dispute with Ms. Spencer. (See PL003407, December 26, 2016 email exchange,
attached as Exhibit 8.) On this exchange was Rabbi Allen Secher, who also co-
founded LLH. (See, e.g., “Northwest Montana Fair Parade”, DAILY INTERLAKE
(Aug. 17, 2018), attached as Exhibit 9.)5 As explained in Mr. Anglin’s pending
separate Motion to Compel, Ms. Gersh has refused to provide highly relevant
communications between her and Rabbi Secher wrongly invoking the clerical
privilege. (See Dkt. No. 135 at 21-22.) MHRN has access to these documents and

3 Plaintiff’s improper refusal to provide this correspondence is subject to a separate
motion to compel.
4
  This was a transparent request that Ms. Gersh donate the proceeds of the sale of 22
Lupfer Avenue, which Ms. Gersh proposed she facilitate, to LLH. This is further
confirmed by a November 22, 2016 email from MHRN’s co-director Rachel Carroll
Rivas (see Exhibit 3), where Ms. Rivas summarizes Ms. Gersh’s conversation with
Ms. Spencer as containing a recommendation that Ms. Spencer “[s]ell it and give a
portion to MHRN.”
5
  available at:
https://www.dailyinterlake.com/local_news/20180817/northwest_montana_fair_pa
rade (last accessed Feb. 21, 2019).
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must produce them in light of Ms. Spencer’s refusal to comply with her discovery
obligations.
       On January 28, 2019, Mr. Anglin served his Subpoena on MHRN. (See
Subpoena, attached as Exhibit 10.) On February 5, 2019, MHRN served its
objections to the Subpoena and did not provide any responsive documents. (See
objections to Subpoena, attached as Exhibit 11.)
       Mr. Anglin has in good faith attempted to confer with MHRN through its
counsel to resolve this conflict without court action, including by sending a detailed
meet-and-confer letter on February 14, 2019 and conducting a phone call on
February 19, 2019. (See February 14, 2019 meet-and-confer letter, attached as
Exhibit 12.) However, as detailed below, Mr. Anglin’s efforts were unsuccessful.
Thus, Mr. Anglin requests this Court to enter an order compelling MHRN to answer
in full and without further objection each document request in the Subpoena.
3.0    LEGAL STANDARDS
       Federal Rule of Civil Procedure 45 permits parties to serve subpoenas on non-
parties, subject to the scope of Rule 26(b). The Court has broad discretion to manage
discovery. Hunt v. County of Orange, 672 F.3d 606, 616 (9th Cir. 2012). Parties are
generally entitled to “discovery regarding any non-privileged matter that is relevant
to any party’s claim or defense and proportional to the needs of the case.” Fed. R.
Civ. P. 26(b)(1). The information “need not be admissible in evidence to be
discoverable.” Fed. R. Civ. P. 26(b)(1).
       For discovery purposes, relevance is construed broadly to include any matter
that “bears on, or that reasonably could lead to other matters that could bear on, any
issue that is or may be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S.
340, 351 (1978); see also Dewidar v. National Railroad Passenger Corp., 2018 WL
280023 *2 (S.D. Cal. Jan. 3, 2018) (applying Oppenheimer’s relevance standard
under current version of Rule 26(b)(1)). In assessing proportionality, courts consider
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“the importance of the issues at stake in the action, the amount in controversy, the
parties’ relative access to relevant information, the parties’ resources, the importance
of the discovery in resolving the issues, and whether the burden or expense of the
proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).
       Fed. R. Civ. P. 45(d)(2)(B)(i) allows a party serving a subpoena on a non-
party to compel compliance with the subpoena. See Wilcox v. Swapp, 2018 U.S.
Dist. LEXIS 206666, *5 (W.D. Wash. Dec. 6, 2018). Unless the subpoena “requires
the disclosure of privileged or protected matters or subjects the non-party to an undue
burden . . . the non-party should produce the documents requested by the subpoena
as long as the documents are relevant and proportional to the needs of the under Rule
26 and not protected by privilege.” Id.
       The party opposing a subpoena bears the burden of showing that the subpoena
is unduly burdensome. Simplex Mfg. Co. v. Chien, 2012 U.S. Dist. LEXIS 124625,
*4 (W.D. Wash. Aug. 31, 2012) (citing Goodman v. United States, 369 F.2d 166,
169 (9th Cir. 1966)). Ruling on a motion to compel compliance with a subpoena is
a matter of discretion. See Mattel Inc. v. Walking Mt. Productions, 353 F.3d 792,
813 (9th Cir. 2003).
4.0    ARGUMENT
       4.1   MHRN Has Had Sufficient Time to Comply with the Subpoena
       MHRN first objected to the Subpoena on the ground that it did not allow
sufficient time for compliance. Mr. Anglin served the Subpoena on January 28, 2019
and called for compliance by February 6, 2019, giving MHRN 9 days to provide
responsive documents. As explained in the meet and confer letter to MHRN, Mr.
Anglin had to call for this short turnaround because Ms. Gersh improperly refused
to produce documents in advance of multiple depositions she scheduled which
MHRN possessed. In the meet and confer letter, Mr. Anglin offered to allow MHRN
to produce responsive documents by February 28, 2019, a full month after service
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of the Subpoena. Despite this, MHRN refused to provide responsive documents.
MHRN is not claiming it lacks sufficient time to gather responsive documents; it is
flatly refusing to produce anything at all. MHRN’s initial objection regarding lack
of time to comply with the Subpoena is thus moot and provides no basis for refusing
to comply with it.
      4.2    The Subpoena Does Not Violate the Geographical Restrictions of
             Rule 45

      Second, MHRN objected to the location of production in the Subpoena,
claiming that the place designated for compliance (Missoula, Montana) is more than
100 miles from the address listed in the caption of the Subpoena (Helena, Montana).
      Fed. R. Civ. P. 45(c)(2) provides that a subpoena may command “(A)
production of documents, electronically stored information, or tangible things at a
place within 100 miles of where the person resides, is employed, or regularly
transacts business in person.” MHRN is a state-wide organization with a division,
Missoula Rises, located in Missoula, Montana. (See Exhibit 1 at p. 5 of 7.) It thus
regularly transacts business in and around Missoula, and the geographic limitations
of Rule 45 are not implicated here. Mr. Anglin is otherwise willing to provide a
location for production wherever else may be convenient and has offered that
MHRN produce documents electronically, which is not location dependent. Thus,
this objection is improper and MHRN simply refuses to comply with any subpoena.
      4.3    MHRN’s Specific Objections are Meritless
      For purposes of discovery, relevance is expansive, “encompass[ing] any
matter that bears on, or that reasonably could lead to other matter[s] that could bear
on, any issue that is or may be in the case.” Moe v. Sys. Transp., Inc., 270 F.R.D.
613, 618 (D. Mont. 2010).
      The “recitation of ‘boilerplate objections or blanket refusals’ is [] not
consistent with the requirements of the discovery rules.” Nei v. Travelers Home &
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Marine Ins. Co., 326 F.R.D. 652 (D. Mont. 2018) (citing Burlington N. & Santa Fe
Ry. Co. v. U.S. Dist. Ct., 408 F.3d 1142, 1149 (9th Cir. 2005)). The exclusive reliance
on boilerplate objections “waives any legitimate objection Defendant [] may have
had.” Id. (quoting Mancia v. Mayflower Textile Servs. Co., 253 F.R.D. 354, 364
(D.Md.2008)). Black’s defines “boilerplate” to mean “[r]eady-made or all-purpose
language that will fit in a variety of documents.” Black's Law Dictionary (10th ed.
2014). Objections by non-parties may also properly be overruled as boilerplate
when they lack specificity. See Jang v. Sagicor Life Ins. Co., 2019 U.S. Dist. LEXIS
1280, *5 (Jan. 3, 2019) (overruling non-party’s objections to subpoena as boilerplate
without further analysis).
      MHRN’s specific objections to the document requests in the Subpoena are not
sufficient to excuse its non-compliance. Each request is addressed in turn below.
      Request No. 1: All documents, including those evidencing
      communications, that relate to and/or reference Tanya Gersh made
      between October 1, 2016 and the present. This includes but is not
      limited to all emails, voicemails, video or text messages, and private
      messages sent through any service or application.

      MHRN claims this request is overbroad as it is not limited in scope or subject
matter and not limited to a relevant time period, arguing that communications
between non-parties are not relevant and not proportional. MHRN additionally
argues that it is less burdensome on MHRN for Mr. Anglin to seek communications
involving Ms. Gersh from Ms. Gersh.
      MHRN consistently asserts its time limitation objection, but it is not well-
founded. Request No. 1 seeks documents over a 28-month period, starting merely
one month before the election of President Trump, one of the primary events giving
rise to Ms. Gersh’s claims. MHRN provides no explanation as to how the request is
not temporally limited. Furthermore, this Court has already found that, as to Ms.
Gersh’s claims against Mr. Anglin, a relevant time period begins in November 2016.
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(See, passim, Dkt. No. 131.) The specific events of Ms. Gersh’s dispute with Ms.
Spencer took place prior to any actions of Mr. Anglin, and so the starting date of
October 1, 2016 in Mr. Anglin’s Subpoena is appropriate.
      The requested information is highly relevant to Mr. Anglin’s defenses in this
case. Ms. Gersh worked hand-in-hand with MHRN, directly and through its Love
Lives Here division, with respect to the protest of Mrs. Spencer’s property and
seeking a statement and donation from Mrs. Spencer, all of which are the subject of
the articles at issue. They specifically go to the issue of actual malice. Ms. Gersh is
not a more convenient source of these documents, either, as she has not produced all
such communications.
      Request No. 2: All documents, including those evidencing
      communications, that relate to and/or reference Spencer made between
      October 1, 2016 and the present. This includes but is not limited to all
      emails, voicemails, video or text messages, and private messages sent
      through any service or application.
      Request No. 3: All documents, including those evidencing
      communications, that relate to and/or reference Richard Spencer made
      between October 1, 2016 and the present. This includes but is not
      limited to all emails, voicemails, video or text messages, and private
      messages sent through any service or application.

      MHRN objects to Request Nos. 2 and 3 based on assertions of lack of
relevance because Richard and Sherry Spencer are not parties, undue burden because
compliance would allegedly require “countless hours of document identification and
review,” and lack of time limitation.
      MHRN does not indicate how these requests might be overbroad in reference
to the volume of responsive documents. The assertion of “countless hours” is
implausible given that email and hard drive keyword searches for “Spencer” and
“Richard Spencer,” as well as related terms like “Gersh” and “22 Lupfer” would not
take a significant amount of time to conduct. The relevance of the requests is self-

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evident; this lawsuit directly relates to protests of the Spencer family, involving
MHRN, and they all seek evidence on the issue of actual malice. And as explained
above, the objection as to lack of time limitation is groundless.
      Request No. 4: All documents, including those evidencing
      communications, that relate to and/or reference Andrew Anglin made
      between October 1, 2016 and the present. This includes but is not
      limited to all emails, voicemails, video or text messages, and private
      messages sent through any service or application.

      MHRN repeats its boilerplate objections as to lack of relevance,
proportionality, and time limitation without any explanation except to assert that Mr.
Anglin is a public figure.
      As explained above, the time limitation objection is groundless. Mr. Anglin’s
status as a public figure is irrelevant regarding MHRN’s obligation to comply with
the Subpoena; Ms. Gersh has made allegations regarding articles attributed to him
that directly discuss MHRN. The requested discovery is thus directly relevant to the
issue of actual malice.
      Request No. 5: Any and all communications with the Southern Poverty
      Law Center between October 1, 2016 and the present.

      MHRN repeats its boilerplate objections as to relevance, overbreadth,
proportionality, and lack of time limitation.
      As explained above, the objection as to time limitation is groundless. The
requested documents are relevant as they speak to MHRN’s intercession on Ms.
Gersh’s behalf during her dispute with Mrs. Spencer and subsequent events and are
otherwise likely to address the issue of actual malice. Counsel for Mr. Anglin
offered to address issues as to any communications with the SPLC outside of this
scope, but, even if such documents exist, they do not excuse MHRN’s complete
failure to produce relevant documents.


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      Request No. 6: Documents sufficient to describe the organization of
      Your business “Love Lives Here.”

      MHRN repeats its boilerplate objection as to relevance, as well as an assertion
of a fear of harassment and violation of MHRN’s First Amendment rights.6 It also
claims that it is not obligated to produce documents which do not currently exist.
      The relevance objection is not well taken. LLH is central to this lawsuit, as
its planned protest of Mrs. Spencer’s building and behavior are the focus of the Daily
Stormer articles at issue. Mr. Anglin does not seek non-existent documents, but it is
implausible for MHRN to suggest that it does not possess any documents that
describe how LLH is organized. Presumably, MHRN and LLH (which documents
are in MHRN’s possession, custody, or control) have meeting minutes or notes,
guidelines, correspondence, or other documents, whether formally or informally,
that describe the leadership of LLH, lines of authority, and how it is controlled by
MHRN. Mr. Anglin’s counsel noted in the meet and confer letter that any concerns
regarding confidentiality can be addressed in a protective order which the Court is
currently considering.
      Request No. 7: Any and all documents regarding the property at 22
      Lupfer Avenue in Whitefish, Montana.

6
  MHRN cites only Perry v. Schwarzenegger, 591 F.3d 1126 (9th Cir. 2010) to
support its invocation of the First Amendment. But Perry only dealt with a First
Amendment privilege (which MHRN does not invoke) in the context of the right to
anonymous political association. See id. at 1139-40. Furthermore, the party
invoking such a privilege must provide a prima facie showing of arguable First
Amendment infringement. See id. at 1140. If that showing is made, the party
seeking discovery must demonstrate an interest in obtaining this information
sufficient to justify the deterrent effect on the right of association. See id. MHRN
does not explain how this right may be chilled, failing the test at the outset. Mr.
Anglin only seeks documents describing the organization of LLH, not the personal
details of its members. If the fear is that Mr. Anglin may disclose the information
of LLH or MHRN members incidentally collected, MHRN could have provided
redacted documents, which could be supplemented once a protective order is in
place. Instead, it flatly refused to provide anything.
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        Request No. 8: Any and all documents regarding the occupants and/or
        tenants of the property at 22 Lupfer Avenue in Whitefish, Montana.

        For Request Nos. 7 and 8, MHRN repeats its boilerplate objections regarding
relevance and lack of limitation on time, scope, or subject matter. It also contends
there are less burdensome means of acquiring requested documents not in MHRN’s
possession.
        These documents are highly relevant. This dispute originated with Ms. Gersh,
a member of MHRN’s business, LLH, calling a tenant at 22 Lupfer Avenue about a
planned protest by LLH. The requested documents go directly to the issue of actual
malice, as they are likely to substantiate the claims made in the Daily Stormer articles
at issue. Additionally, although no specific time limitation is identified in the
request, the building has only existed for a few years, and Mr. Anglin’s counsel
offered to limit the time period for the request to October 1, 2016 to the present in
their meet and confer letter.
5.0     AN ORDER COMPELLING COMPLIANCE IS REQUIRED
        Before seeking Court intervention, Mr. Anglin’s counsel attempted to resolve
the various issues in MHRN’s objections with MHRN’s counsel during the meet and
confer discussion. After sending a detailed meet and confer letter on February 14,
2019, counsel for Mr. Anglin and MHRN spoke telephonically. MHRN’s counsel
indicated, in no uncertain terms, that MHRN would not provide any responsive
documents, despite Mr. Anglin’s offers to modify terms of the Subpoena and allow
additional time to respond.     Accordingly, MHRN has provided no responsive
documents at all and has no plans to do so.
        Mr. Anglin’s counsel has met and conferred, followed up with and otherwise
attempted to avoid seeking the Court’s assistance. Unfortunately, Mr. Anglin’s
efforts have been to no avail, and he is left with no further choice but to request that


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this Court compel MHRN to provide complete and immediate compliance with the
Subpoena and award fees and costs.
6.0     CONCLUSION
        For the foregoing reasons, Mr. Anglin moves the Court to enter an order
compelling compliance with the Subpoena to MHRN. In addition, Mr. Anglin
requests Mr. Anglin also moves the Court to find MHRN in contempt under Rule
45(g) and impose an appropriate sanction, including an award of costs and fees
incurred in making this motion.
        Dated: February 21, 2019.       Respectfully submitted,
                                        /s/ Marc J. Randazza
                                        Marc J. Randazza, pro hac vice
                                        RANDAZZA LEGAL GROUP, PLLC
                                        2764 Lake Sahara Drive, Suite 109
                                        Las Vegas, Nevada 89117
                                        /s/ Jay M. Wolman
                                        Jay M. Wolman, pro hac vice
                                        RANDAZZA LEGAL GROUP, PLLC
                                        100 Pearl Street, 14th Floor
                                        Hartford, Connecticut 06103
                                        /s/ Matthew M. Stevenson
                                        Matthew M. Stevenson
                                        STEVENSON LAW OFFICE
                                        1120 Kensington, Suite B
                                        Missoula, MT

                                        Attorneys for Defendant,
                                        Andrew Anglin




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                       CERTIFICATE OF COMPLIANCE
      Pursuant to D. Mont. L.R. 7.1(d)(2)(E), undersigned counsel hereby certifies
compliance with the said Rule and states that the number of words in this brief, as
per the count of Microsoft Word, is 3,537.


                                       /s/ Jay M. Wolman
                                       Jay M. Wolman


                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on February 21, 2019, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. I further certify
that a true and correct copy of the foregoing document being served via transmission
of Notices of Electronic Filing generated by CM/ECF and by First Class Mail,
postage prepaid, to:

                              Andres Haladay, Esq.
                              Drake Law Firm, P.C.
                            111 N. Last Chance Gulch
                            Arcade Building, Suite 3J
                               Helena, MT 59601

                                       /s/ Jay M. Wolman
                                       Jay M. Wolman




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                         INDEX OF EXHIBITS

Exh. No.                         Description of Exhibit
   1       MHRN Home Page

   2       PL003215, Email from Sherry Spencer Dated December 5, 2016

   3       PL003368-69, November 22, 2019 Email from Rachel Carroll Rivas

           November 22, 2016 Email from Rachel Carroll Rivas to Will
   4
           Randall

   5       December 8, 2016 Email from Ms. Rivas

           “We Investigate: Whitefish, Family Torn Apart by White
   6
           Nationalist’s Notoriety,” ABC FOX MONTANA (Dec. 13, 2016)
           PL003996, December 13, 2016 Emails Between Ina Albert And
   7
           Tanya Gersh
   8       PL 003407, December 26, 2016 Email Exchange
           Northwest Montana Fair Parade”, DAILY INTERLAKE
   9
           (Aug. 17, 2018),
  10       Subpoena
  11       Objections to Subpoena
  12       February 14, 2019 Meet-and-Confer Letter




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